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AO 442 (Rev. 11/1!) Arrest Warrant

UNITED STATES DISTRICT COURT
for the
District of Columbia

}15°26 BL4
Case: 1:23-cr-00073

United States of America

v. )
) Assigned to: Judge Kollar-Kotelly, Colleen
HECTOR DAVID VALDEZ ) Assign Date: 3/9/2023
) Description: INDICTMENT (B)
) Related Case No: 22-cr-00022 (CKK)
Defendant
ARREST WARRANT
To: Any authorized Jaw enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arresied) © HECTOR DAVID VALDEZ
who is accused of an offense or violation based on the following document filed with the court:

@& indictment © Superseding Indictment (Information © Superseding Information © Complaint
0) Probation Violation Petition OC Supervised Release Violation Petition A Violation Notice ( Order of the Court

This offense is briefly described as follows:

21 USC 846 - Conspiracy to Distribute and Possess With Intent to Distribute 400 Grams or More of a Mixture and
Substance Containing a Detectable Amount of Fentanyl;
FORFEITURE: 21 USC § 853(p); and 28 USC § 2461(c)

. Digitally signed by

G. Michael G. Michael Harvey
Date: 2023.03.09

Harvey  46:5437-0s00

issuing officer's signature

Date: 03/09/2003

City and state!) WASHINGTON, D.C. G. MICHAEL HARVEY, U.S. MAGISTRATE JUDGE

Printed name and title

 

Return

 

 

This warraut was received on (date) 3 ‘lO: 2023 and the person was arrested on (date) 3 F4.2023
at (city ard state} [LeXS ht 19920 C

Date: 3:24 ‘A023 lithe (lle 's signature
Ale. Adlbias

Printed name and title

 

 
